     Case 09-51889-tnw                    Doc 57           Filed 04/25/12 Entered 04/25/12 08:02:36   Desc Main
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF KENTUCKY
                                                LEXINGTON DIVISION

In Re:

TERRY MCINTOSH                                                                         SSN: ____________________
TRINA LAVELLE MCINTOSH
Debtors                                                                                Case No. 09-51889


                             ORDER VACATING PAYROLL DEDUCTION ORDER




           The Chapter 13 Trustee requests that the payroll deduction of plan payments for

TERRY MCINTOSH in this case be stopped. IT IS ORDERED:

           The payroll deduction order previously entered in this case is hereby VACATED . The

employer, KENTUCKY DEPT OF PARKS, is authorized to refund to the debtor any funds on

hand as of the date of this order and to pay all future wages to the debtor .



cc:
TERRY MCINTOSH                                                             SANFORD, KATHERINE S
TRINA LAVELLE MCINTOSH                                                     APPALACHIAN RESEARCH &
150 OLD HOPEWELL ROAD SOU                                                  DEFENSE
BEATTYVILLE, KY 41311                                                      P O BOX 567
                                                                           RICHMOND, KY 40476-0567


KENTUCKY DEPT OF PARKS
ATTN: PAYROLL DEPARTMENT
CAPITAL PLAZA TOWER 500 METRO
FRANKFORT, KY 40601-1974

Pursuant to Local Rule 9022-1(c), Beverly M. Burden shall
cause a copy of this order to be served on each of the parties
designated to receive this order pursuant to Local Rule 9022-1( a)
and shall file with the Court a certificate of service of the order
upon such parties within fourteen (14) days hereof.




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The affixing of this Court's electronic seal below is proof this document
has been signed by the Judge and electronically entered by the Clerk in the
official record of this case.

                                                                      Signed By:
                                                                      Tracey N. Wise
                                                                      Bankruptcy Judge
                                                                      Dated: Wednesday, April 25, 2012
                                                                      (vlt)
